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      5   Attorney for Defendant
                    JUAN PEREZ, JR.
      6

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      8
                             IN THE UNITED STATES DISTRICT COURT
      9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                ) Case No. CR-F-08-00282 LJO
                                                   )
     12               Plaintiff,                   )
                                                   ) STIPULATION TO MODIFY
     13         vs.                                ) CONDITIONS OF PRETRIAL RELEASE
                                                   )
     14   JUAN PEREZ, JR.,                         )
                                                   ) Judge: Honorable LAWRENCE J.
     15               Defendant.                   )
                                                   ) O’NEILL
     16

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     19   TO: LAWRENCE J. O’NEILL, Federal District Court Judge and DUTY
          MAGISTRATE JUDGE, Eastern District of California.
     20
                PLEASE TAKE NOTICE that the it is stipulated by and between
     21
          the parties that the pretrial release conditions for Defendant
     22
          JUAN PEREZ, JR. hereby be modified in the following manner:
     23
          -That Defendant JUAN PEREZ, JR. be released from the condition
     24
          ordering use of the electronic monitor;
     25   -All other pretrial release conditions to remain in full force
     26   and effect.
     27   ///

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      1   Assistant United State Attorney Kimberly Sanchez, Pretrial
      2   Officers Jacob Scott and Manuel Ibanez have hereby agreed to the
      3   modifications listed above.

      4
          DATED:       September 4, 2009
      5
                                                 Respectfully submitted,
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      8

      9
                                                           /S/
     10                                          STEVEN L. CRAWFORD, Attorney for
                                                 Defendant JUAN PEREZ, JR.
     11

     12                                                    /S/
     13
                                                 KIMBERLY SANCHEZ, AUSA

     14   IT IS SO ORDERED:
     15

     16
          DATE:9/10/2009                         /s/ Gary S. Austin
                                                 GARY S. AUSTIN, Magistrate Judge
     17                                          Eastern District of California
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